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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

LUXOTTICA GROUP S.p.A. and OAKLEY,
INC.,                                               Case No. 19-cv-01347

                        Plaintiffs,                 Judge John J. Tharp, Jr.

       v.                                           Magistrate Judge Jeffrey T. Gilbert

XIE JI PING, et al.,

                        Defendants.


                       NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs Luxottica

Group S.p.A. and Oakley, Inc. (“Plaintiffs”) hereby dismiss this action with prejudice as to the

following Defendant:

               Defendant Name                                         Line No.
    Shenzhen super light Technology Co., Ltd.                           162


Dated this 24th day of May 2019.            Respectfully submitted,


                                            /s/ Justin R. Gaudio
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                                            Justin R. Gaudio
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